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                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Scientel Solutions, LLC
                                  Plaintiff,
v.                                                    Case No.: 1:17−cv−00937
                                                      Honorable Joan B. Gottschall
Richard Seiff
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 2, 2017:


        MINUTE entry before the Honorable Joan B. Gottschall: The court has approved
the parties' consent decree [46], and the parties have stipulated to the dismissal of the
defendant's counterclaim [44]. Because all claims have been resolved, the pending
motions [23] and [31] are denied as moot, and the clerk is directed to close this case. The
court retains jurisdiction to enforce the consent decree [46] consistent with its terms.Civil
case terminated. Mailed notice(maf)




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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